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                         IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA, )
                              )
                  Plaintiff,  )                               8:05CR250
                              )
            v.                )
                              )
JOLENE CORTEZ,                )                       PRELIMINARY ORDER
                              )                         OF FORFEITURE
                  Defendant.  )
______________________________)


               This matter comes on before the Court upon the United States' Motion for

Issuance of Preliminary Order of Forfeiture and Memorandum Brief (Filing No. 32). The Court

has reviewed the record in this case and finds as follows:

               1. Defendant has entered into a Plea Agreement, whereby she has agreed to plead

guilty to Counts I and IV of said Indictment. Count I of said Indictment charges the defendant

with conspiracy to distribute methamphetamine, a violation of 21 U.S.C. § 846. Count IV of said

Indictment charges the defendant with using $2,775.00 in United States currency to facilitate the

commission of the conspiracy and charges said personal property is derived from proceeds

obtained directly or indirectly as a result of the commission of the conspiracy.

               2. By virtue of said plea of guilty, the defendant forfeits her interest in the subject

property, and the United States should be entitled to possession of said property, pursuant to

21 U.S.C. § 853.

               3. The United States' Motion for Issuance of Preliminary Order of Forfeiture

should be sustained. Accordingly,
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                IT IS ORDERED:

                A. The United States' Motion for Issuance of Preliminary Order of Forfeiture is

hereby sustained.

                B. Based upon Count IV of the Indictment and the defendant's plea of guilty, the

United States Marshal for the District of Nebraska ("Marshal") is hereby authorized to seize the

following-described property: $2,775.00 in United States currency.

                C. Defendant's interest in said property is hereby forfeited to the United States of

America for disposition in accordance with the law, subject to the provisions of 21 U.S.C.

§ 853(n)(1).

                D. The aforementioned forfeited property is to be held by the Marshal in his

secure custody and control.

                E. Pursuant to 21 U.S.C., § 853(n)(1), the Marshal forthwith shall publish at least

once for three successive weeks in a newspaper of general circulation, in the county where the

subject property is situated, notice of this Order, notice of the Marshal's intent to dispose of the

property in such manner as the Attorney General may direct, and notice that any person, other

than the defendant, having or claiming a legal interest in any of the subject forfeited property

must file a Petition with the court within thirty (30) days of the final publication of notice or of

receipt of actual notice, whichever is earlier.

                F. Said published notice shall state the Petition referred to in Paragraph E., above,

shall be for a hearing to adjudicate the validity of the Petitioner's alleged interest in the property,

shall be signed by the Petitioner under penalty of perjury, and shall set forth the nature and extent




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of the Petitioner's right, title or interest in the subject property and any additional facts supporting

the Petitioner's claim and the relief sought.

                G. The United States may also, to the extent practicable, provide direct written

notice to any person known to have alleged an interest in the property subject to this Order as a

substitute for published notice as to those persons so notified.

                H. Upon adjudication of all third-party interests, this Court will enter a Final

Order of Forfeiture pursuant to 21 U.S.C. § 853(n), in which all interests will be addressed.

                DATED this 24th day of October, 2005.

                                                        BY THE COURT:

                                                        /s/ Lyle E. Strom

                                                        LYLE E. STROM, SENIOR JUDGE
                                                        United States District Court




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